(06/2017)



                                   UNITED S TATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                              AT SELECT     ONE:
                                                   CHARLESTON




Donald L. Blankenship




v.                                                                       CASE NUMBER 5:14-CR-244; 5:18-CV-591

United States of America



This form applies to the above-entitled action only.

Select and complete the appropriate section of this form to update:
          (1)   your name and/or firm information;
          (2)   to add your name as counsel of record;
          (3)   to change representation within your firm; or
          (4)   to remove your name from the court’s service list.

Withdrawal and/or Termination of Representation should be made in accordance with:
L R Civ P 83.4      Withdrawal and/or Termination of Representation
          An attorney may withdraw from a case in which he or she has appeared only as follows:
          (a)   By Notice of Withdrawal. A party’s attorney may withdraw from a case by filing and serving a notice of withdrawal, effective
                upon filing, if:
                (1)    multiple attorneys have appeared on behalf of the party; and
                (2)    at least one of those attorneys will still be the party’s counsel of record after the attorney seeking to withdraw does so.
          (b)   By Notice of Withdrawal and Substitution. A party’s attorney may withdraw from a case by filing and serving a notice of
                withdrawal and substitution, effective upon filing, if the notice includes:
                (1)    the withdrawal and substitution will not delay the trial or other progress of the case; and
                (2)    the notice is filed and served at least 90 days before trial.
          (c)   By Motion. An attorney who seeks to withdraw other than under LR 83.4(a) or (b) must move to withdraw and must show good
                cause. The attorney must notify his or her client of the motion.




                         NOTICE OF CHANGE OF ATTORNEY INFORMATION


              I,                    Kate K. Smith (KY #96069)                                      hereby provide this Notice of
                                        Name of Attorney and Bar Number

Change of Attorney Information to the Court and request the Clerk’s Office to:




                                                               Page 1 of 3
✔
a   Please add my name as counsel of record in the above-entitled action only as follows:
                                               United States of America
    My firm/government agency, ______________________________________                  has made an appearance in
    the above-entitled action. I request to be added as additional counsel of record for the following party(LHs) on
    whose behalf my firm/government agency has already made an appearance.
    Name of Party(LHs) Represented:
    United States of America




a   Please change within-firm representation in the above-entitled action only as follows:
    My firm/government agency, ______________________________________________________________
    by ________________________________ has made an appearance in the above-entitled action. I request
    to be substituted as counsel of record for the following party(LHs) on whose behalf
    _________________________ has appeared and further request the court WR terminate and remove
    _______________________________ from the court’s service list for this case only.
    Name of Party(LHs) Represented:




a   Please remove me from the Court’s services list in the above-entitled action only.
    I do not wish to receive copies of any future orders, correspondence, motions, pleadings, notices, etc., and am
    notifying the court to remove my name from its service list for this case only. I will notify the Clerk of Court
    should this notice requirement change.
    Further, I hereby absolve other counsel of record, if any exist, or pro se parties, from serving any future
    correspondence, motions, pleadings, notices, etc., upon me in this case only.
    I am to remain counsel of record for the following party(LHs):




a   Please update my name and/or firm information in the above-entitled action only as
    follows:
              Former name:
                 New name:
      New firm/government
             agency name:
       New mailing address:
        City/State/Zip Code:
    New telephone number:
           New fax number:
        New e-mail address:
                                (provide only if a registered CM/ECF e-filer)




                                                     Page 2 of 3
  Date:
                              s/ Electronic Signature

                              State Bar number:

                              Firm/Government Agency:

                              Mailing Address:

                              City/State/Zip Code:

                              Telephone number:

                              Fax number:

                              E-mail:


An attorney who seeks to withdraw other than under L R Civ P 83.4(a) or (b) must ILOH D
PRWLRQ WR withdraw and VKRZ good cause. The attorney must notify his or her client of the
motion.




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